      Case 2:10-cr-00223-JAM Document 236 Filed 07/19/12 Page 1 of 3


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 4   Attorneys for Defendant,
     NICOLE DAWSON
 5
 6               IN THE UNITED STATES DISTRICT COURT FOR THE
 7                       EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                  Case No.: 2:10 CR-0223 JAM
10              Plaintiff,
                                                STIPULATION AND ORDER
11        vs.                                   CONTINUING STATUS CONFERENCE
12   NICOLE DAWSON,                             Date:   July 24, 2012
                                                Time:   9:45 a.m.
13              Defendant.                      Ctrm:   6 (JAM)
14
15        The United States of America, through its counsel Assistant

16   U. S. Attorney Philip A. Ferrari, and defendant Nicole Dawson,

17   through her counsel Clyde M. Blackmon, stipulate that the status

18   conference regarding the imposition of judgment and sentence

19   upon Ms. Dawson now scheduled for 9:45 a.m. on July 24, 2012,

20   may be continued to September 25, 2012, at 9:45 a.m.

21        A continuance of the status conference is necessary

22   because, while Ms. Dawson’s case has been resolved by way of a

23   guilty plea, the charges against some other defendants in the

24   case are still pending and information pertaining to the

25   resolution of the charges against those defendants may be

26   helpful to the Court in fashioning a sentence for Ms. Dawson.

27   Therefore, the parties request that the status conference

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                    STIPULATION AND ORDER CONTINUING STATUS CONFERENCE
      Case 2:10-cr-00223-JAM Document 236 Filed 07/19/12 Page 2 of 3


 1   regarding the imposition of judgment and sentence pertaining to
 2   Ms. Dawson be continued to September 25, 2012, at 9:45 a.m.
 3        IT IS SO STIPULATED.
 4   DATED:    July 19, 2012            By: //s// Philip A. Ferrari______
                                                Philip A. Ferrari
 5                                              Assistant U.S. Attorney
 6
     DATED:    July 19, 2012            By: _//s// Clyde M. Blackmon___
 7                                              CLYDE M. BLACKMON,
                                                ROTHSCHILD WISHEK & SANDS
 8                                              LLP, Attorneys for
 9                                              Defendant NICOLE DAWSON

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                    STIPULATION AND ORDER CONTINUING STATUS CONFERENCE
      Case 2:10-cr-00223-JAM Document 236 Filed 07/19/12 Page 3 of 3


 1                                      ORDER
 2        Good cause appearing upon the stipulation of the parties,
 3   it is ordered that the status conference regarding the
 4   imposition of judgment and sentence upon Nicole Dawson now
 5   scheduled for July 24, 2012, is continued to 9:45 a.m. on
 6   September 25, 2012.
 7        IT IS SO ORDERED:
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 9   DATED: July 19, 2012               /s/ John A. Mendez
                                        Hon. John A. Mendez
10                                      United States District Judge
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                    STIPULATION AND ORDER CONTINUING STATUS CONFERENCE
